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  July 18, 2022

  The Honorable Beth Bloom
  United States District Court
  Southern District of Florida
  Wilkie D. Ferguson, Jr. United States Courthouse
  400 North Miami Avenue
  Chambers 10-2
  Miami, Florida 33128

          Subj: 1:13-CV-21570 CIV U. S. v. Miami-Dade County

  Dear Judge Bloom:

  This letter is to update the Court regarding this matter, pursuant to the #14 Compliance
  Report.1 The contents of this letter were shared with all parties on July 14, 2022. There
  were no objections to the content. If the Court prefers, this report will be formally filed,
  and we are prepared to do that at your direction. The parties are copied.

 I.   Conclusions

  It is evident to the Monitoring Team that the County has devoted considerable resources to
  addressing the provisions not in substantial compliance, as of the # 14 Compliance Report,
  of the Consent Agreement and Settlement Agreement. The County is on the verge of
  completing all outstanding policies, and/or policy revisions, The County understands the
  remaining tasks are to produce the data and reporting to document compliance with these
  policies.

  The Monitoring Team believes the County’s initiatives and strategies are aimed in the
  appropriate direction, are resourced and enthusiastically lead, and offer an opportunity to
  achieve compliance. Compliance will be assessed during the compliance tour of October 11
  – 13, 2022.


  1 “The purpose of this meeting will be to evaluate initiatives to achieve and sustain compliance for both the
  Settlement Agreement and the Consent Agreement. If there are concerns by the Monitors or DOJ that
  sufficient progress has not been made, the Monitors will so document to the Court. If a status conference is
  needed as an interim remedy, the Monitors will so suggest to the Court.” [#14 Compliance Report, page 6].
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 II.   Activities Since the Status Conference of April 15, 2022

       A. On April 29, 2022, the County self-initiated action plans for all remaining provisions
          not in compliance. An additional action plan regarding Classification was provided
          on July 13, 2022.

       B. The Monitoring Team and DOJ were on-site in Miami-Dade County July 12 -14, 2022.
          We met twice with Mayor Danielle Cava Levine, deliberated with MDCR, CHS, and
          the Mayor’s staff, and toured the three facilities.

       C. The County provided drafts of seven (7) policies needed to be reviewed and
          approved by the DOJ and the Monitors. These are to be finalized immediately.

       D. There are currently outstanding policies/procedures which the County will provide
          to the DOJ and Monitors no later than July 31, 2022: Suicide Precautions,
          Classification and Classification Procedures, Recognizing and Supervising Inmates
          with Mental Illness, and Inmates in Custodial Segregation (Performance
          Monitoring). Each of these policies were discussed to provide input and
          recommendations from the DOJ and the Monitors.

III.   Specific Provisions

       A. Classification. The updates to the objective classification system are underway. The
          Settlement Agreement requires that “. . . The Monitor will conduct an annual review
          to determine whether MDCR’s objectives classification system continues to
          accomplish the goal of housing inmates based on level of risk and supervision
          needs.”

       B. Inmate violence. The County is identifying the root causes and developing specific
          countermeasures.

       C. Segregation and Inmate with Serious Mental Illness. Data to assess compliance with
          the Consent Agreement will be provided this week, with updates in August.

       D. Morbidity and Mortality Reviews. The processes are improving and will be
          enhanced by measurable Corrective Action Plans (CAPs), as well as tracking the
          effectiveness of the CAPs.

       E. Staffing Analysis for CHS will be provided to the Monitors by July 21, 2022.
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         F. Bi-Annual Reports – CHS (2), MDCR. These reports are due as part of the document
            request for the # 15 Compliance Report, and the County states these will be
            available on schedule.

         G. An audit of the County’s compliance with The Prison Rape Elimination Act of 2003
            was conducted the week of June 29th, with a report to be produced by the date of the
            on-site in October. (Settlement Agreement III. A. 3.)

IV.      Looking to October on-site Compliance Tour

      The Monitors will be on-site on October 11 – 13, 2022 to assess compliance. This
      documentation to guide this work will be provided by the County to the parties on
      September 23, 2022. We anticipate a final report to the Court, reviewed by all parties, by
      November 18, 2022.

 V.      Additional Information

      On July 15, 2022, the County’s compliance coordinator, Ms. Kim Bones, resigned from this
      position, effective September 9, 2022. The County notes it recognizes the critical
      importance of this role toward achieving compliance with federal agreements and thanks
      Ms. Bones for her outstanding service. Miami Dade County will endeavor to fill this
      position with an experienced and qualified professional as soon as possible. The County
      greatly valued Ms. Bones’ contributions over the years and hopes that she still might
      reconsider her decision and continue her service.

      If there are any questions regarding this update, I’m available at your convenience.

      Respectfully yours,




      Susan W. McCampbell
      Lead Monitor

      Copies to:

      The Honorable Daniella Levine Cava, Mayor, Miami-Dade County
      Johanna Cervone, Chief of Staff to the Mayor
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  Rahel Weldeyesus, Senior Advisor to the Mayor
  J. D. Patterson, Chief of Corrections
  William Maddox, Special Litigation Section, Civil Rights Division, U. S. Dept. of Justice
  Veronica Harrell-James, Assistant U. S. Attorney, Southern District of Florida
  Chantel Doakes, Assistant U. S. Attorney, Southern District of Florida
  Laura Cowall, Deputy Chief, Civil Rights Division Special Litigation Section
  Don Steigman, COO, JHS
  Sylvia McQueen, MD, Chief Medical Officer, CHS
  Patricia Ares-Romero MD, Interim Chief Psychiatrist
  Cassandra Jones, Interim Director, MDCR
  Marydell Guevara, Assistant Director, MDCR
  John Johnson, Assistant Director, MDCR
  Veronica Salom, Assistant Director, MDCR
  Willie Marshall, Assistant Director, MDCR
  Kim Bones, Compliance Coordinator
  Bernie Pastor, County Attorney’s Office
  Ben Simon County Attorney’s Office
  Laura Llorente, County Attorney’s Office
  Monitors - Johnson, Greifinger, Chidekel, DeFerrari
